                Case:
ILND 450 (Rev. 10/13)    1:17-cv-07667
                      Judgment in a Civil Action   Document #: 52 Filed: 02/19/19 Page 1 of 2 PageID #:302

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Bodyguard Productions, Inc.,

Plaintiff(s),
                                                                    Case No. 17-cv-7667
v.                                                                  Judge Dow

Does 1-25,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                other: Plaintiff/Counter-Defendant Bodyguard Productions, Inc.'s motion for voluntary dismissal
of its claims against Defendant/Counter-Plaintiff Doe No. 23 (Ernesto Mendoza) [31] is granted. Plaintiff's
claims against Doe No. 23 (Ernesto Mendoza) are dismissed with prejudice. Each side will bear its own fees
and costs in this litigation.

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Robert M. Dow on a motion.



Date: 2/19/2019                                                  Thomas G. Bruton, Clerk of Court
                Case:
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                                                                 Carolyn Hoesly, Deputy Clerk
